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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA OF
                                NORTHERN DIVISION

UNITED STATES OF AMERICA                  )
                                          )
v.                                        )    CASE NO. 2:11-cr-179-MEF
                                          )
EDDIE SMITH                               )

                                    ORDER

       After an independent review of the file, it is the ORDER, JUDGMENT and DECREE

of the court that:

       (1)    The defendant's Objections (Doc. #181) filed on April 16, 2012 to the

Recommendation of the Magistrate Judge are overruled;

       (2) The Recommendation of the Magistrate Judge (Doc. #173) entered on April 2,

2012 is adopted;

       (3) The defendant's Motion to Suppress (Doc. #76) is DENIED.

                         th
       DONE this the 19 day of April, 2012.


                                                    /s/ Mark E. Fuller
                                              UNITED STATES DISTRICT JUDGE
